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                            EXHIBIT 32
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                       IN THE SUPREME COURT OF PENNSYLVANIA
                                  EASTERN DISTRICT


 ECLIPSE LIQUIDITY, INC.            : No. 176 EAL 2024
                                    :
                                    :
            v.                      : Petition for Allowance of Appeal
                                    : from the Order of the Superior Court
                                    :
 GEDEN HOLDINGS, LTD, ADVANTAGE     :
 TANKERS, LLC, AND ADVANTAGE        :
 AWARD SHIPPING, LLC                :
                                    :
                                    :
 PETITION OF: REUBEN BALZAN, COURT- :
 APPOINTED LIQUIDATOR FOR GEDEN     :
 HOLDINGS, LTD.                     :


                                        ORDER



PER CURIAM

        AND NOW, this 21st day of January, 2025, the Petition for Allowance of Appeal is

DENIED.




A True Copy Darian Holland
As Of 01/21/2025


Attest: ___________________
Chief Clerk
Supreme Court of Pennsylvania
